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                                                             IN THE CIRCUIT COURT OF THE 11TH
                                                             JUDICIAL CIRCUIT IN AND FOR
                                                             MIAMI-DADE COUNTY, FLORIDA

         SATRINA HUGHLEY,                                    GENERAL JURISDICTION DIVISION

                   Plaintiff,                                CASE NO.:

         v.

         LOWE’S HOME CENTERS, LLC,                                             COMPLAINT
                                                                                                              C
                   Defendant.
         __________________________________/

                 Plaintiff, SATRINA HUGHLEY, sues the Defendant, LOWE’S HOME CENTERS, LLC

        (“LOWE’S”) and alleges as follows:

              1. This is an action for damages that exceeds Thirty Thousand Dollars ($30,000.00).

              2. Plaintiff was and is a resident of Miami-Dade County, Florida and otherwise sui juris.

              3. Defendant, LOWE’S, was and is a Foreign Limited Liability Company authorized to and

        doing business in Miami-Dade County, Florida.

              4. Venue is proper in this County because the Defendant does business in Miami-Dade

        County and/or Plaintiff’s cause of action arose in Miami-Dade County.

              5. At all times material hereto, LOWE’S, owned, operated, and/or maintained a retail store

        located at 1850 NE 8th Street, Homestead, Florida 33033.

              6. At all times material hereto, Plaintiff was an invitee of the Defendant.

                                             COUNT I – NEGLIGENCE

              7. Plaintiff realleges and restates the allegations in paragraphs 1 through 7 as if fully set

        forth herein.
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         8. At all material times, and specifically on November 26, 2016, LOWE’S owned,

   managed, controlled, operated, and/or maintained the premises located at 1850 NE 8 Street,

   Homestead, Florida 33033.

         9. LOWE’S owed a legal duty to keep the subject premises reasonably safe for individuals,

   like the Plaintiff, and to correct and/or warn of any hazardous conditions.

         10. On or about November 26, 2016, Plaintiff was lawfully on Defendant’s premises when

   she slipped and fell on a transitory foreign substance, to wit, an accumulation/puddle of a clear

   liquid.

         11. LOWE’S, its agents, servants, and/or employees breached the duty owed to the Plaintiff

   by:

                a. failing to maintain the premises in a reasonably safe condition, to wit, allowing an

                    accumulation of a transitory foreign substance to remain in the path of a business

                    invitee,

                b. creating an unreasonably dangerous slipping hazard,

                c. failing to warn of the subject hazardous condition,

                d. failing to restrict access to the subject hazardous area,

                e. guiding/directing Plaintiff directly through the area of the hazardous condition,

                    and/or

                f. otherwise, negligent as discovery may reveal.

         12. LOWE’S, was negligent in creating or permitting the aforementioned dangerous and

   hazardous condition to remain upon the premises, rendering said premises dangerous and unsafe

   for the Plaintiff and other invitees.

         13. LOWE’S knew or should have known of the aforementioned dangerous condition

   because of the extensive number of footprints and shopping cart tracks over the hazardous
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   condition indicating that it existed long enough for a reasonably prudent retailer to have

   remedied it and/or safeguarded the area.

      14. As a result of LOWE’S negligence, Plaintiff slipped and fell and was severely injured.

      15. As a result, Plaintiff suffered bodily injury including, but not limited to, a wrist fracture

   and knee injury requiring a total knee replacement, and resulting pain and suffering,

   disability, disfigurement, mental anguish, loss of capacity for the enjoyment of life, expense of

   hospitalization, medical and nursing care and treatment, lost earnings, loss of ability to earn

   money, and aggravation of a previously existing condition. The losses are either permanent or

   continuing and Plaintiff will suffer the losses in the future.

          WHEREFORE, Plaintiff demands judgment for damages against LOWE’S in excess of

   this Court’s jurisdictional limits as well as post-judgment interest and costs of bringing this

   action as allowed by law, court costs and pre-judgment interest, and all further relief as this

   Court deems fair, just and equitable.

                                            JURY DEMAND

          Plaintiff hereby demands trial by jury on all issues so triable.

   Dated: November 24, 2020

                                                  LAW OFFICES OF ROBERT BEHAR, PA
                                                  7900 SW 57th Avenue, Suite 9
                                                  South Miami, FL 33143
                                                  Ph. (305) 264-9700
                                                  Fax (305) 264-7900
                                                  Email: rbehar@robertbeharlaw.com
                                                  Secondary: abegui@robertbeharlaw.com
                                                              fbatlle@robertbeharlaw.com

                                                  By: s/ Robert Behar
                                                  Robert Behar, Esq.
                                                  Fla. Bar No.: 151645
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        IN THE CIRCUIT COURT OF THE 11TH
        JUDICIAL CIRCUIT IN AND FOR
        MIAMI DADE COUNTY, FLORIDA

        CASE NO: 2020-025399-CA-01

        SATRINA HUGHLEY,

                       Plaintiff,

        vs.

        LOWE’S HOME CENTERS, LLC

                    Defendant
        ___________________________________/

                                    ANSWER AND AFFIRMATIVE DEFENSES

               Defendant, LOWE’S HOME CENTERS, LLC, by and through the undersigned counsel,

        files this Answer to the Plaintiff’s Complaint and states as follows:


                                                       ANSWER

               1. Defendant admits the allegations contained in paragraphs 1, 3 and 4 for jurisdictional

        purposes only. The allegations contained in paragraphs 1, 3 and 4 are specifically denied and strict

        proof is demanded thereof for any and all other purposes.

               2. Any and all allegations not specifically admitted herein are specifically denied and strict

        proof is demanded thereof.

               3. Defendant is without knowledge as to the allegations contained in paragraphs 2, 6 and 9.

        Consequently, those allegations are denied, and strict proof is demanded thereof.

               4. Defendant admits the allegations contained in paragraphs 5 and 8.

               5. Defendant specifically denies the allegations contained in paragraphs 10, 11, 12, 13, 14

        and 15 and strict proof is demanded thereof.

               6. As to the allegations in paragraph 7, the Defendant repeats its responses to those same

        paragraphs incorporated therein as if those responses were fully re-written.
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                                       AFFIRMATIVE DEFENSES

           7. The Plaintiff was the sole legal cause of the injuries alleged in the Complaint and,

   therefore, the Plaintiff is barred from recovery as a matter of law. Alternatively, the Plaintiff was

   comparatively negligent and any recovery in favor of the Plaintiff must be reduced by the

   percentage of negligence attributable to the Plaintiff.

           8. Defendant is entitled to a set-off for any collateral source benefits paid or payable in

   favor of the Plaintiff.

           9. Defendant had no actual or constructive notice of the condition complained of by the

   Plaintiff prior to the claimed loss and liability may not be imposed absent such notice.

           10. The Plaintiff has failed to mitigate damages and is not entitled to recover for those

   damages which could have been avoided through the use of reasonable care.

           11. Plaintiff has failed to mitigate damages because the medical bills are not reasonable

   and/or necessary; the billing is excessive; the treatment and/or billing was not causally related to the

   accident; the medical providers have engaged in conduct (excessive billing or treatment) which was

   not reasonably foreseeable; Plaintiff had health insurance and treated under a Letter of Protection,

   which is void against public policy and Defendant is entitled to a write-down or setoff pursuant to

   Section 641.3154, Florida Statutes. If Plaintiff is a Medicare beneficiary, then Defendant is entitled

   to a write-down or setoff under the Medicare fee schedule.

           12. Defendant is entitled to a set-off for any settlement or award obtained by the Plaintiff

   from any other person or entity, as provided by Florida law.

           13. The incidents alleged in the Complaint, if caused by anyone other than the Plaintiff,

   were caused in whole or in part by third persons over whom this Defendant had no control or legal

   responsibility.
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           14. Defendant is not liable to the Plaintiff because the defects or conditions of which the

   Plaintiff complains were patent and obvious in nature.

           15. The liability, if any, of this Defendant shall only be on the basis of percentage of fault,

   not on the basis of joint and several liabilities pursuant to the provisions of Florida Statute Chapter

   768.

                                       DEMAND FOR JURY TRIAL


           This Defendant demands trial by jury of all issues so triable as a matter of right by a jury.


                                      CERTIFICATE OF SERVICE

           WE HEREBY CERTIFY that a true and correct copy of the foregoing was filed with

   the clerk of the Court using the Florida Courts E-filing Portal on July 8, 2021 to be served this

   date on Robert Behar, Esq., Law Offices of Robert Behar, P.A., 7900 SW 57th Avenue, Suite

   9, South Miami, FL 33143, via transmission of Notice of Electronic Filing generated by

   eservice@myfloridacourtaccess.com and/or was sent via electronic mail to the above

   addressee(s).



                                                   VERNIS & BOWLING OF MIAMI, P.A.
                                                   1680 N.E. 135th Street
                                                   North Miami, Florida 33181
                                                   Phone: (305) 895-3035
                                                   Fax: (305) 892-1260
                                                   Email: abray@florida-law.com



                                                   Andrew W. Bray, Esq.
                                                   Florida Bar No. 752401
   AWB/cs
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                                                            IN THE CIRCUIT COURT OF THE 11TH
                                                            JUDICIAL CIRCUIT IN AND FOR
                                                            MIAMI-DADE COUNTY, FLORIDA

         SATRINA HUGHLEY,                                   GENERAL JURISDICTION DIVISION

                  Plaintiff,                                CASE NO.: 2020-025399-CA-01

         v.
                                                                   MOTION FOR EXTENSION OF
         LOWE’S HOME CENTERS, LLC,                                 TIME TO SERVE COMPLAINT
                                                                                                             C
                  Defendant.
         __________________________________/

                 Plaintiff, SATRINA HUGHLEY, by and through undersigned counsel and pursuant to

        Rule 1.090(b) of the Florida Rules of Civil Procedure, hereby files this Motion for Extension of

        Time to Serve Defendant, LOWE’S HOME CENTERS, LLC, and states as follows:

              1. The Complaint in this action was filed on November 24, 2020.

              2. Prior to and since the filing of the Complaint, the undersigned has attempted to amicably

        resolve this matter with Defendant, LOWE’S HOME CENTERS, LLC, but a settlement has not

        been reached.

              3. The 120-day limit to serve the Complaint upon the Defendant, LOWE’S HOME

        CENTERS, LLC, will expire on March 24, 2021.

              4. The Plaintiff requests a 90-day extension of time, until June 22, 2021, to serve the

        Defendant, LOWE’S HOME CENTERS, LLC.

                 WHEREFORE, Plaintiff respectfully requests this Court enter an Order granting Plaintiff

        a 90-day extension to serve Defendant, LOWE’S HOME CENTERS, LLC.
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          I HEREBY CERTIFY that a true and correct copy of the foregoing was filed on this 8th

   day of March, 2021.


                                              LAW OFFICES OF ROBERT BEHAR, P.A.
                                              7900 SW 57th Avenue, Suite 9
                                              S. Miami, Florida 33143
                                              Tel: (305) 264-9700
                                              Fax:(305) 264-7900
                                              Email: rbehar@robertbeharlaw.com
                                              Secondary Emails:    abegui@robertbeharlaw.com
                                                                   fbatlle@robertbeharlaw.com

                                              By: s/ Robert Behar
                                              Robert Behar
                                              Fla. Bar No. 151645
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         IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL
         CIRCUIT IN AND FOR MIAMI-DADE COUNTY, FLORIDA

         CASE NO: 2020-025399-CA-01
         SECTION: CA08
         JUDGE: Lourdes Simon

         Satrina Hughley
         Plaintiff(s)

         vs.

         LOWE'S HOME CENTERS, LLC
         Defendant(s)
         ____________________________/

         ORDER GRANTING PLAINTIFF'S MOTION FOR EXTENSION OF TIME TO SERVE
                                    COMPLAINT

         THIS CAUSE came before the Court ex-parte on Plaintiff’s Motion for Extension of Time
         to Serve Complaint on Defendant, Lowe's Home Centers, LLC. Upon due consideration, the
         Court finds good cause to grant the requested extension.

                 ACCORDINGLY, it is hereby ORDERED AND ADJUDGED:

            1. Plaintiff’s Motion for Extension of Time to Serve Complaint on Defendant is GRANTED.
            2. Plaintiff shall have until June 22, 2021 to serve Defendant with a Summons and
               Complaint.
         DONE and ORDERED in Chambers at Miami-Dade County, Florida on this 15th day of March,
         2021.




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                                                               Hon. Lourdes Simon

                                                                CIRCUIT COURT JUDGE
                                                                Electronically Signed



           No Further Judicial Action Required on THIS MOTION

           CLERK TO RECLOSE CASE IF POST JUDGMENT



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      Electronically Served:
      Ana Beguiristain, abegui@robertbeharlaw.com
      Felipe Batlle, fbatlle@robertbeharlaw.com
      Robert Behar, rbehar@robertbeharlaw.com
      Robert Behar, abegui@robertbeharlaw.com
      Robert Behar, fbatlle@robertbeharlaw.com


      Physically Served:




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